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FILED IN THE U.S, DISTRICT COURT

TON
Vanessa R. Waldref EASTERN DISTRICT OF WASHINGTO

United States Attorney

Eastern District of Washington NOV 28 2023
Christopher J. Bridger

Assistant United States Attorney SEAN F. MCAVOY, aes a
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Yakima, WA 98901-2760
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, Case No.: 1:23-CR-2036-MKD-1
Plaintiff, Plea Agreement
V.
RONALD LEE RALSTON, Jr.,

Defendant.

Plaintiff United States of America, by and through Vanessa R. Waldref,
United States Attorney the Eastern District of Washington, and Christopher J.
Bridger, Assistant United States Attorney for the Eastern District of Washington,
and Defendant Ronald Lee Ralston, Jr. (“Defendant”), both individually and by
and through Defendant’s counsel, Ulvar Klein, agree to the following Plea
Agreement.

is Guilty Plea and Maximum Statutory Penalties

Defendant agrees to enter a plea of guilty to the sole Count of the Indictment
filed on June 13, 2023, which charges Defendant with Conspiracy to Distribute
500 Grams or More of Methamphetamine, in violation of 21 U.S.C. § 841(a)(1),
(b)(1)(A)(viii); all in violation of 21 U.S.C. § 846, a Class A felony.

Defendant understands that the following potential penalties apply:

PLEA AGREEMENT - |
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a. a term of imprisonment of not less than 10 years and up to a
lifetime;

b. aterm of supervised release of not less than 5 years and up to a
lifetime;

C. a fine of up to $10,000,000;

d. a$100 special penalty assessment; and

e. denial of certain federal benefits pursuant to 21 U.S.C.§§ 862
and 862a.

2. Supervised Release

Defendant understands that if Defendant violates any condition of
Defendant’s supervised release, the Court may revoke Defendant’s term of
supervised release, and require Defendant to serve in prison all or part of the term
of supervised release authorized by statute for the offense that resulted in such term
of supervised release without credit for time previously served on postrelease
supervision, up to the following terms:

a. 5 years in prison if the offense that resulted in the term of
Supervised Release is a class A felony,

b. 3 years in prison if the offense that resulted in the term of
Supervised Release is a class B felony, and/or

c. 2 years in prison if the offense that resulted in the term of
Supervised Release is a class C felony.

Accordingly, Defendant understands that if Defendant commits one or more
violations of supervised release, Defendant could serve a total term of
incarceration greater than the maximum sentence authorized by statute for
Defendant’s offense or offenses of conviction.

3, The Court is Not a Party to this Plea Agreement

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The Court is not a party to this Plea Agreement and may accept or reject it.

Defendant acknowledges that no promises of any type have been made to

Defendant with respect to the sentence the Court will impose in this matter.

Defendant understands the following:

a.
b.

sentencing is a matter solely within the discretion of the Court;
the Court is under no obligation to accept any recommendations
made by the United States or Defendant;

the Court will! obtain an independent report and sentencing
recommendation from the United States Probation Office;

the Court may exercise its discretion to impose any sentence it
deems appropriate, up to the statutory maximum penalties;

the Court is required to consider the applicable range set forth
in the United States Sentencing Guidelines, but may depart
upward or downward under certain circumstances; and

the Court may reject recommendations made by the United
States or Defendant, and that will not be a basis for Defendant
to withdraw from this Plea Agreement or Defendant’s guilty

plea.

4. Potential Immigration Consequences of Guilty Plea

If Defendant is not a citizen of the United States, Defendant understands the

following:

pleading guilty in this case may have immigration
consequences;

a broad range of federal crimes may result in Defendant’s
removal from the United States, including the offense to which
Defendant is pleading guilty;

removal from the United States and other immigration

consequences are the subject of separate proceedings; and

PLEA AGREEMENT - 3
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d. no one, including Defendant’s attorney or the Court, can predict
with absolute certainty the effect of a federal conviction on
Defendant’s immigration status.
Defendant affirms that Defendant is knowingly, intelligently, and voluntarily
pleading guilty as set forth in this Plea Agreement, regardless of any immigration
consequences that Defendant’s guilty plea may entail.

5. Denial of Federal Benefits

Defendant understands that by entering this plea of guilty, Defendant is no
longer eligible for assistance under any state program funded under part A of Title
IV of the Social Security Act (concerning Temporary Assistance for Needy
Families) or benefits under the food stamp program or any state program carried

out under the Food Stamp Act. 21 U.S.C. § 862a. Defendant also understands that

the Court may deny Defendant’s eligibility for any grant, contract, loan,
professional license, or commercial license provided by an agency of the United

States or by appropriated funds of the United States. 21 U.S.C. § 862.

6. Waiver of Constitutional Rights
Defendant understands that by entering this guilty plea, Defendant is

knowingly and voluntarily waiving certain constitutional rights, including the

following:
a the right to a jury trial;
b. _ the right to see, hear and question the witnesses;
c. the right to remain silent at trial;

d. the right to testify at trial; and
e. the right to compel witnesses to testify.
While Defendant is waiving certain constitutional rights, Defendant
understands that Defendant retains the right to be assisted by an attorney through

the sentencing proceedings in this case and any direct appeal of Defendant’s

PLEA AGREEMENT - 4
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conviction and sentence, and that an attorney will be appointed at no cost if
Defendant cannot afford to hire an attorney.

Defendant understands and agrees that any defense motions currently
pending before the Court are mooted by this Plea Agreement, and Defendant
expressly waives Defendant’s right to bring any additional pretrial motions.

7. Elements of the Offense

The United States and Defendant agree that in order to convict Defendant of
Conspiracy to Distribute 500 Grams or More of Methamphetamine, in violation of
21 U.S.C. § 841(a)(1), (b)(1)(A)(viii); all in violation of 21 U.S.C. § 846, the
United States would have to prove the following beyond a reasonable doubt.

a. First, beginning on a date unknown, but by or on or about May
4, 2023, and continuing until on or about June 7, 2023, within
the Eastern District of Washington, there was an agreement
between two or more persons to distribute 500 grams or more
of a mixture or substance containing a detectable amount of
methamphetamine, a schedule II controlled substance; and

b. Second, the Defendant knowingly and intentionally joined in
the agreement knowing of its purpose and intending to help
accomplish that purpose.

8. Factual Basis and Statement of Facts

The United States and Defendant stipulate and agree to the following: the
facts set forth below are accurate; the United States could prove these facts beyond
a reasonable doubt at trial; and these facts constitute an adequate factual basis for
Defendant’s guilty plea.

The United States and Defendant agree that this statement of facts does not
preclude either party from presenting and arguing, for sentencing purposes,
additional facts that are relevant to the Sentencing Guidelines computation or

sentencing, unless otherwise prohibited in this Plea Agreement.

PLEA AGREEMENT - 5
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Federal Bureau of Investigations Task Force members received reports that
Defendant (Ronald Lee Ralston, Jr.) and Jesse Lee Johnson were distributing large
quantities of methamphetamine and fentanyl from Defendant’s residence in Selah,
WA.

As a result of their investigation, FBI Task Force members set up an
unsuccessful controlled buy between Defendant and Jesse Johnson on May 4,
2023. The confidential human source arrived at Defendant’s residence in Selah,
WA, located in the Eastern District of Washington, and attempted to purchase
methamphetamine from the Defendant. The Defendant stated that the
methamphetamine that he had on hand was already spoken for and not available
for sale that day. However, the Defendant and Jesse Johnson were both captured
on video discussing the future purchase of controlled substances to the confidential
human source.

Based on the previous discussion between the confidential human source,
Defendant, and Jesse Johnson discussing the future purchase of drugs, a second
controlled buy was set up on May 16, 2023. The confidential human source and
their vehicle were checked for contraband prior to the controlled buy. The
confidential human source was provided with $2,000 in buy funds and an audio-
visual recorder. The audio-visual recorder was monitored during the conduct of
the controlled buy. The controlled buy took place at Defendant’s residence located
in Selah, WA. As previously agreed between the parties, the confidential human
source arrived and the Defendant gave the confidential human source
approximately a pound of methamphetamine. Jesse Johnson gave the confidential
human source approximately 100 pills of fentanyl. The confidential human source

handed Jesse Johnson the $2,000 in buy funds. The Defendant told the

confidential human source that he could get the confidential human source any
methamphetamine and fentanyl required with 24-hour notice. The Defendant and

Jesse Johnson were seen with firearms during the controlled purchase. The

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confidential human source then left the residence and gave the drugs to law
enforcement, which were field tested and entered into evidence.

A search warrant was issued by the District Court for the Eastern District of
Washington and later executed by law enforcement on June 7, 2023 to search the
Defendant’s residence for evidence related to drug distribution. In the Defendant’s
trailer located on the property, law enforcement seized approximately 1.5 pounds
of methamphetamine, other controlled substances, and two firearms. Law
enforcement seized another firearm and approximately .5 pounds of
methamphetamine inside the main residence on the property.

Defendant stipulates that by on or about May 4, 2023 and continuing until
on or about June 7, 2023, within the Eastern District of Washington, that the
Defendant and Jesse Lee Johnson knowingly and intentionally agreed and
conspired to distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, a schedule II controlled substance.

Defendant knowingly and intentionally joined in the agreement knowing of
its purpose and intending to help accomplish that purpose.

9. Drug Quantity

The United States and Defendant agree and stipulate that 1,187 grams of
pure methamphetamine and 70.67 net weight grams of fentanyl was possessed with
intent to distribute or actually distributed in furtherance of the criminal activity
jointly undertaken by Defendant and Jesse Lee Johnson; this amount was within
the scope of Defendant’s agreement; this amount was reasonably foreseeable to
Defendant in connection with the conspiracy; and Defendant’s relevant conduct for
sentencing purposes should be calculated based on this amount, pursuant to
U.S.S.G. § 1B1.3.

10. The United States’ Agreements

The United States Attorney’s Office for the Eastern District of Washington

agrees not to bring additional charges against Defendant based on information in

PLEA AGREEMENT - 7
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its possession at the time of this Plea Agreement that arise from conduct that is
either charged in the Indictment or identified in discovery produced in this case,
unless Defendant breaches this Plea Agreement before sentencing.

11. United States Sentencing Guidelines Calculations

Defendant understands and acknowledges that the United States Sentencing
Guidelines (“U.S.S.G.” or “Guidelines”) apply and that the Court will determine
Defendant’s advisory range at the time of sentencing, pursuant to the Guidelines.
The United States and Defendant agree to the following Guidelines calculations.

a. Base Offense Level

The United States and the Defendant agree that the base offense level for
Conspiracy to Distribute 500 Grams or More of Methamphetamine is 34. U.S.S.G.
§ 2D1.1(a)(5); (c)(3).

b. Special Offense Characteristics

The United States and the Defendant agree that the Defendant’s base offense
level is increased by 2 levels for possessing a dangerous weapon. U.S.S.G.
§ 2D1.1(b)(1).

c. Acceptance of Responsibility

The United States will recommend that Defendant receive a downward
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1(a), (b), if
Defendant does the following:

i. accepts this Plea Agreement;
ii. enters a guilty plea at the first Court hearing that takes
place after the United States offers this Plea Agreement;
iii. demonstrates recognition and affirmative acceptance of
Defendant’s personal responsibility for Defendant’s
criminal conduct;
iv. provides complete and accurate information during the

sentencing process; and

PLEA AGREEMENT - 8
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v. does not commit any obstructive conduct.

The United States and Defendant agree that at its option and on written
notice to Defendant, the United States may elect not to recommend a reduction for
acceptance of responsibility if, prior to the imposition of sentence, Defendant is
charged with, or convicted of, any criminal offense, or if Defendant tests positive
for any controlled substance.

d. No Other Agreements

The United States and Defendant have no other agreements regarding the
Guidelines or the application of any Guidelines enhancements, departures, or
variances. Defendant understands and acknowledges that the United States is free
to make any sentencing arguments it sees fit, including arguments arising from
Defendant’s uncharged conduct, conduct set forth in charges that will be dismissed
pursuant to this Agreement, and Defendant’s relevant conduct.

e. Criminal History

The United States and Defendant have no agreement and make no
representations about Defendant’s criminal history category, which will be
determined by the Court after the United States Probation Office prepares and
discloses a Presentence Investigative Report.

12. Safety Valve

The United States and the Defendant stipulate and agree that the Defendant
is not eligible for the safety valve provisions of 18 U.S.C. § 3553(f) and U.S.S.G. §
5C1.2.

13. Incarceration

The United States agrees to recommend that the Court impose a sentence at
the low end of the Guidelines, as calculated by the Court.

Defendant may recommend any legal sentence.

14. Supervised Release

PLEA AGREEMENT - 9
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The United States and Defendant each agree to recommend 5 years of
supervised release. Defendant agrees that the Court’s decision regarding the
conditions of Defendant’s Supervised Release is final and non-appealable; that is,
even if Defendant is unhappy with the conditions of Supervised Release ordered by
the Court, that will not be a basis for Defendant to withdraw Defendant’s guilty
plea, withdraw from this Plea Agreement, or appeal Defendant’s conviction,
sentence, or any term of Supervised Release.

The United States and Defendant agree to recommend that in addition to the
standard conditions of supervised release imposed in all cases in this District, the
Court should also impose the following conditions:

a. The United States Probation Officer may conduct, upon
reasonable suspicion, and with or without notice, a search of
Defendant’s person, residences, offices, vehicles, belongings,
and areas under Defendant’s exclusive or joint control.

b. | Defendant shall participate and complete such drug testing and
drug treatment programs as the Probation Officer directs.

15. Criminal Fine

The United States and Defendant may make any recommendation
concerning the imposition of a criminal fine. Defendant acknowledges that the
Court’s decision regarding a fine is final and non-appealable; that is, even if
Defendant is unhappy with a fine ordered by the Court, that will not be a basis for
Defendant to withdraw Defendant’s guilty plea, withdraw from this Plea
Agreement, or appeal Defendant’s conviction, sentence, or fine.

16. Judicial Forfeiture

Defendant, RONALD LEE RALSTON, Jr., agrees to voluntarily forfeit and

relinquish all right, title and interest he has in the following listed assets to the
United States:
- $1,655.66 U.S. currency;

PLEA AGREEMENT - 10
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- a12 Gauge Browning shotgun, bearing serial number 88645;

- aNew England 12 Gauge shotgun, bearing serial number NX504158;

- ablack rifle, no manufacturer, no model, no serial number; and,

- any and all seized ammunition, magazines and other accessories

Defendant acknowledges that the assets listed above are subject to forfeiture
to the United States pursuant to 21 U.S.C. § 853 for the offense Conspiracy to
Distribute 500 Grams or More of Methamphetamine, in violation of 21 U.S.C. §
841(a)(1), (b)(1)(A)(viii); all in violation of 21 U.S.C. § 846.

Defendant agrees to take all steps as requested by the United States to pass
clear title to the assets to the United States and to testify truthfully in any forfeiture
proceeding. Defendant agrees to hold all law enforcement agents and the United
States, its agents, and its employees harmless from any claims whatsoever arising
in connection with the seizure, abandonment, or forfeiture of any asset covered by
this agreement.

Defendant further agrees to waive all constitutional and statutory challenges
in any manner (including direct appeal, habeas corpus, or any other means) to any

forfeiture carried out in accordance with this Plea Agreement on any grounds,

including that the forfeiture constitutes an excessive fine or punishment. Defendant
knowingly and voluntarily waives his right to a jury trial on the forfeiture of the
asset(s). Defendant waives oral pronouncement of forfeiture at the time of
sentencing, and any defects that may pertain to the forfeiture.

Defendant waives further notice of any federal, state or local proceedings
involving the forfeiture of the seized assets the Defendant is agreeing to forfeit in
this Plea Agreement.

17. Mandatory Special Penalty Assessment

Defendant agrees to pay the $100 mandatory special penalty assessment to
the Clerk of Court for the Eastern District of Washington, pursuant to 18 U.S.C.
§ 3013.

PLEA AGREEMENT - 11

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18. Payments While Incarcerated

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, Defendant agrees to earn money toward these obligations by
participating in the Bureau of Prisons’ Inmate Financial Responsibility Program.

19. Additional Violations of Law Can Void Plea Agreement

The United States and Defendant agree that the United States may, at its

option and upon written notice to the Defendant, withdraw from this Plea
Agreement or modify its sentencing recommendation if, prior to the imposition of
sentence, Defendant is charged with or convicted of any criminal offense or tests
positive for any controlled substance.

20. Waiver of Appeal Rights

Defendant understands that Defendant has a limited right to appeal or

challenge Defendant’s conviction and the sentence imposed by the Court.

Defendant expressly waives all of Defendant’s rights to appeal Defendant’s
conviction and the sentence the Court imposes.

Defendant expressly waives Defendant’s right to appeal any fine, term of
supervised release, or restitution order imposed by the Court.

Defendant expressly waives the right to file any post-conviction motion
attacking Defendant’s conviction and sentence, including a motion pursuant to 28
U.S.C. § 2255, except one based on ineffective assistance of counsel arising from
information not now known by Defendant and which, in the exercise of due
diligence, Defendant could not know by the time the Court imposes sentence.

Nothing in this Plea Agreement shall preclude the United States from
opposing any post-conviction motion for a reduction of sentence or other attack
upon the conviction or sentence, including, but not limited to, writ of habeas
corpus proceedings brought pursuant to 28 U.S.C. § 2255.

21. Withdrawal or Vacatur of Defendant’s Plea

PLEA AGREEMENT - 12
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Should Defendant successfully move to withdraw from this Plea Agreement
or should Defendant’s conviction be set aside, vacated, reversed, or dismissed
under any circumstance, then:

a. this Plea Agreement shall become null and void;

b. the United States may prosecute Defendant on all available
charges;

C. The United States may reinstate any counts that have been

dismissed, have been superseded by the filing of another
charging instrument, or were not charged because of this Plea
Agreement; and

d. — the United States may file any new charges that would
otherwise be barred by this Plea Agreement.

The decision to pursue any or all of these options is solely in the discretion
of the United States Attorney’s Office.

Defendant agrees to waive any objections, motions, and/or defenses
Defendant might have to the United States’ decisions to seek, reinstate, or reinitiate
charges if a count of conviction is withdrawn, set aside, vacated, reversed, or
dismissed, including any claim that the United States has violated Double
Jeopardy.

Defendant agrees not to raise any objections based on the passage of time,

including but not limited to, alleged violations of any statutes of limitation or any

objections based on the Speedy Trial Act or the Speedy Trial Clause of the Sixth
Amendment.

22. Integration Clause

The United States and Defendant acknowledge that this document
constitutes the entire Plea Agreement between the United States and Defendant,
and no other promises, agreements, or conditions exist between the United States

and Defendant concerning the resolution of the case.

PLEA AGREEMENT - 13

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This Plea Agreement is binding only on the United States Attorney’s Office
for the Eastern District of Washington, and cannot bind other federal, state, or local
authorities.

The United States and Defendant agree that this Agreement cannot be
modified except in a writing that is signed by the United States and Defendant.

Approvals and Signatures

Agreed and submitted on behalf of the United States Attorney’s Office for
the Eastern District of Washington.

Vanessa R. Waldref
United States Attorney

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Christopher J. Bridger Date
Assistant United States Attorney

PLEA AGREEMENT - 14
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I have read this Plea Agreement and I have carefully reviewed and discussed
every part of this Plea Agreement with my attorney. I understand the terms of this
Plea Agreement. I enter into this Plea Agreement knowingly, intelligently, and
voluntarily. I have consulted with my attorney about my rights, I understand those
rights, and J am satisfied with the representation of my attorney in this case. No
other promises or inducements have been made to me, other than those contained
in this Plea Agreement. No one has threatened or forced me in any way to enter

into this Plea Agreement. I agree to plead guilty because I am guilty.

Ronald Lee Ralston, Jr.
Defendant

I have read the Plea Agreement and have discussed the contents of the
agreement with my client. The Plea Agreement accurately and completely sets
forth the entirety of the agreement between the parties. I concur in my client’s
decision to plead guilty as set forth in the Plea Agreement. There is no legal
reason why the Court should not accept Defendant’s guilty plea.

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Ulvar Klein Date
Attorney for Defendant

PLEA AGREEMENT - 15
